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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES                                                                Case No.

                                                                             22-cr-15

                    v.

                                                                   Assigned to the Honorable
                                                                     Judge Amit Mehta
KENNETH HARRELSON

                            Defendant.


                                           NOTICE OF APPEAL

          Comes now Defendant Kenneth Harrelson, by counsel, and notes his appeal of his final

judgment, conviction, and sentencing to the United States Court of Appeals for the District of

Columbia Circuit. This notice is filed without prejudice and with all rights reserved regardless as

to the identity of successor counsel.

          Further, Defendant respectfully requests he be provided with court appointed counsel

given his being in forma pauperis pursuant to the Criminal Justice Act for purposes of his

appeal.

Dated: June 6, 2023                      RESPECTFULLY SUBMITTED
                                         KENNETH HARRELSON, By Counsel
                                         /s/ Brad Geyer

                                         Bradford L. Geyer, PHV
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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 6, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

                                      /s/ Brad Geyer
                                      Bradford L. Geyer, PHV
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